                                United States District Court
                                 District of Rhode Island

David O’Connell, individually             §
and on behalf of all others               §
similarly situated,                       §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §      Case no.
                                          §
United States Conference of               §
Catholic Bishops,                         §      Class Action
                                          §
      Defendant.                          §


                   Plaintiff’s Original Class Action Complaint
                                                      Table of contents

Preliminary statement ......................................................................................................... 1

Jurisdiction and venue ........................................................................................................ 2

Parties................................................................................................................................... 2

Any applicable statutes of limitation are tolled................................................................... 4

Factual allegations ............................................................................................................... 5

          A. USCCB specifically promotes Peter’s Pence as a collection
             for emergency assistance to the neediest around the world .............................. 5

          B. USCCB is keenly aware of the importance of accurate
             solicitations and honoring donor intent ............................................................. 9

          C. Contrary to USCCB’s representations, Peter’s Pence donations
             are used for investments in real estate and Hollywood films
             rather than emergency assistance for the needy ...............................................11

          D. David O’Connell donated to Peter’s Pence after USCCB told him
             his donation would be applied for emergency assistance ................................ 14

Class allegations ................................................................................................................. 15

          A. Numerosity ........................................................................................................ 16

          B. Commonality and predominance ..................................................................... 17

          C. Typicality ........................................................................................................... 17

          D. Adequacy ........................................................................................................... 17

          E. Declaratory and injunctive relief ...................................................................... 18

          F. Superiority ......................................................................................................... 18

Claims for relief .................................................................................................................. 19

Count I. Fraud ................................................................................................................. 19

          A. USCCB made affirmative misrepresentations .................................................. 19

          B. USCCB fraudulently concealed material facts ................................................. 20


                                                                     i
Count II. Unjust enrichment ............................................................................................ 21

Count III. Breach of fiduciary duty ....................................................................................22

Request for relief ................................................................................................................22

Demand for jury trial ......................................................................................................... 23




                                                                 ii
       1.     Plaintiff David O’Connell brings this action on behalf of himself and all

others similarly situated, against Defendant United States Conference of Catholic

Bishops (“USCCB”). Plaintiff alleges the following based upon information and belief,

the investigation of counsel, and his personal knowledge of the factual allegations.



Preliminary statement

       2.     Requests for charitable contributions must be scrupulously accurate. This

is especially true when a powerful religious organization, already trusted by its

members, asks them to donate money for specific charitable purposes—why would

anyone ever suspect that the money would not be spent as promised?

       3.     For years, USCCB has solicited and collected hundreds of millions of

dollars in donations from parishioners of Catholic churches throughout Rhode Island

and the United States as part of its “Peter’s Pence” collection. USCCB consistently

promotes this specific collection as necessary for helping those suffering the effects of

war, oppression, natural disaster, or disease throughout the world, and who are thus in

need of immediate relief.

       4.     Regrettably and tragically, only a very small portion of this money—as

little as 10%—has found its way to the needy for whom it was given. The rest of the

money—hundreds of millions of dollars over the last several years—has been diverted

into various suspicious investment funds, which in turn have funneled the money into

such diverse ventures as luxury condominium developments and Hollywood movies

while paying fund managers hefty, multi-million dollar commissions.




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       5.     At the urging of USCCB, David O’Connell gave to Peter’s Pence at Sacred

Heart Church in East Providence, Rhode Island, in order to help those in disaster-

stricken parts of the world in immediate need of assistance. On behalf of himself and

everyone else in Rhode Island and the United States, he now asks USCCB to come clean.

Having collected hundreds of millions of dollars from faithful and well-meaning donors

for the poor in immediate need of assistance, USCCB must now account for itself and

the money with which it was entrusted, and, in the interests of justice, it must disgorge

the funds that were not spent as it promised.



Jurisdiction and venue

       6.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d) because the

Class consists of more than 100 members, the amount in controversy exceeds the sum

or value of five million dollars exclusive of recoverable interest and costs, and minimal

diversity exists. This Court also has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. § 1367.

       7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a

substantial part of the events and omissions giving rise to the claims of Plaintiff and the

Class occurred in this District. Furthermore, venue is proper in this District because

Plaintiff made a donation to Peter’s Pence in this District at Sacred Heart Church in East

Providence, Rhode Island.



Parties

       8.     Defendant United States Conference of Catholic Bishops (“USCCB”) is a

District of Columbia non-profit corporation with its principal place of business at 3211


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4th Street NE, Washington, DC 20017. It may be served with process through its non-

commercial registered agent, Monsignor J. Brian Bransfield, at 3211 4th Street NE,

Washington, DC 20017.

       9.     Defendant USCCB is the episcopal conference of the Catholic Church in

the United States. It is composed of all active and retired members of the Catholic

hierarchy in the United States. USCCB is served by a staff of approximately 315 lay

people, priests, deacons, and others located at its headquarters in Washington, DC.

       10.    USCCB describes its purpose as “to promote the greater good which the

Church offers humankind, especially through forms and programs of the apostolate

fittingly adapted to the circumstances of time and place. This purpose is drawn from the

universal law of the Church and applies to the episcopal conferences which are

established all over the world for the same purpose.”1 In the United States, that includes

the promotion, oversight, administration, and collection of coordinated charitable

donation efforts throughout the country called “collections,” including the Peter’s Pence

collection. USCCB regularly and routinely conducts business throughout the United

States and Rhode Island, specifically including the promotion, oversight, administration

and intake of donations through the Peter’s Pence collection.

       11.    USCCB, including its members, employees, subsidiaries, affiliates,

volunteers, and agents, promoted, advertised, provided instructions for, administered,

oversaw, and collected funds from donors throughout Rhode Island and the United

States in connection with the Peter’s Pence collection, and specifically within the

Diocese of Providence and the Parish of Sacred Heart in East Providence.



1 http://www.usccb.org/about/index.cfm (accessed December 23, 2019).



                                             3
       12.    Plaintiff David O’Connell resides in East Providence, Rhode Island. He

made a donation to Peter’s Pence at Sacred Heart Church in East Providence, Rhode

Island.

       13.    Plaintiff specifically reserves the right to amend this Complaint to name

additional party defendants revealed by discovery or further investigation to have been

involved with the diversion of donor funds from the Peter’s Pence collection to purposes

other than those promised.



Any applicable statutes of limitation are tolled

       14.    Plaintiff and Class members did not discover and could not discover

through the exercise of reasonable diligence that USCCB has been promoting and

collecting donations to Peter’s Pence for purposes other than those to which the funds

were applied. Any statutes of limitation otherwise applicable to any claims asserted in

this Complaint have thus been tolled by the discovery rule.

       15.    Any applicable statutes of limitation have also been tolled by USCCB’s

knowing, active, and ongoing fraudulent concealment of the facts alleged herein. USCCB

has known or should have known of the non-charitable applications of donations to

Peter’s Pence while it has been soliciting and collecting them. Thus, USCCB has

effectively concealed from, and failed to notify, Plaintiff, Class members, and the public

of the critical material fact that the vast majority of donations to Peter’s Pence are not

spent for the purpose promised to donors. Although it knew or should have known that

donations to Peter’s Pence are diverted to non-charitable purposes, USCCB did not

acknowledge the problem, and in fact actively concealed it.




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       16.    USCCB was, and is, under a continuous duty to disclose to Plaintiff and

Class members the true character and nature of the Peter’s Pence collection, including

the critical material facts that donations to Peter’s Pence are not used as promised to

help those in need of immediate relief from war, natural disaster, and oppression, but

rather are diverted to other purposes. Instead, USCCB actively concealed the true

character and nature of the Peter’s Pence collection and made misrepresentations about

the specified purposes of the collection. Plaintiff and Class members reasonably relied

upon USCCB’s concealment of these facts that rendered their statements misleading.

       17.    Based on the foregoing, USCCB is estopped from relying on any statutes of

limitation in defense of this action.


Factual allegations

       A.     USCCB specifically promotes Peter’s Pence as a collection for
              emergency assistance to the neediest around the world

       18.    Peter’s Pence is a special collection taken from Catholics around the world

every June. USCCB explains Peter’s Pence as follows:

       The Peter’s Pence Collection derives its name from an ancient custom. In
       ninth-century England[,] King Alfred the Great collected money, a
       “pence,” from landowners as financial support for the Pope. Today, the
       Peter’s Pence Collection supports the Pope’s philanthropy by giving the
       Holy Father the means to provide emergency assistance to those in need
       because of natural disaster, war, oppression, and disease.2

       19.    In the United States, it is USCCB that promotes and administers the

Peter’s Pence collection in coordination with dioceses, parishes, and churches across the




2 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/index.cfm (accessed December 23, 2019).

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country. As USCCB states: “The USCCB National Collections Committee oversees the

promotion of the Peter’s Pence Collection.”3

       20.    To do this, USCCB creates and distributes uniform promotional materials

for specific use in parishes and dioceses. These include a social media tool kit, church

bulletin inserts, letters from bishops, web ads, posters, and print ads, all freely

downloadable from USCCB’s website.4

       21.    All of the Peter’s Pence solicitation materials contain the same essential

message, as stated in USCCB’s sample church bulletin insert: “Donations to this

collection support the charitable works of Pope Francis for the relief of those most in

need.”5




3 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/index.cfm (accessed December 23, 2019).
4 See generally http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/collection/ (accessed December 21, 2019).
5 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/collection/2019/upload/pp-2019-bulletin-insert-bilingual.pdf (accessed
December 21, 2019).

                                              6
      22.    This screenshot of USCCB’s bulletin insert solicitation shows exactly how

USCCB illustrates the purpose of Peter’s Pence to prospective donors:6




6 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/collection/2019/upload/pp-2019-bulletin-insert-bilingual.pdf. (accessed
December 21, 2019).

                                           7
       23.     USCCB’s exemplar “bulletin announcements” have a similar, more

abbreviated approach, accompanied by instructions for use before, during, and after the

collection:7




       24.     USCCB also furnishes specific instructions for Peter’s Pence appeals to be

read from the pulpit at church services:8




7 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/collection/2019/upload/pp-2019-bulletin-announcements.doc (accessed
December 21, 2019).
8 http://www.usccb.org/catholic-giving/opportunities-for-giving/peters-

pence/collection/2019/upload/pp-2019-parish-appeal.doc (accessed December 23,
2019).

                                             8
      25.    For those American Catholics inspired to research Peter’s Pence directly

from the Vatican website, the messages all reinforce that of the USCCB materials. The

Vatican catalogues “works realized” by Peter’s Pence, replete with images and elaborate

descriptions of disaster relief undertaken in various countries (for example, Ecuador):9




      B.     USCCB is keenly aware of the importance of accurate
             solicitations and honoring donor intent

      26.    USCCB is well aware of the importance of transparency, accountability,

accuracy, and honoring donor intent in connection with national collections like Peter’s

Pence. It has adopted specific guidelines for administering USCCB national collections

in dioceses.10 The guidelines discuss the importance of the proper use of promotional

materials; they additionally have an extensive discussion about honoring donor intent.


9 http://www.peterspence.va/en/opere-realizzate/ecuador.html (accessed December 21,

2019).
10 http://www.usccb.org/_cs_upload/about/national-collections/collection-

administration/43214_1.pdf. (accessed December 21, 2019).

                                            9
Citing both Canon law and “civil laws observed within the United States,” the guidelines

“call for procedures that ensure donor funds are used for precise purposes intended in

the donation appeal.” In particular, USCCB guidelines state:11




11 http://www.usccb.org/_cs_upload/about/national-collections/collection-

administration/43214_1.pdf (at p. 5) (accessed December 21, 2019) (footnotes from
original document omitted in screenshot).

                                           10
       C.       Contrary to USCCB’s representations, Peter’s Pence donations
                are used for investments in real estate and Hollywood films
                rather than emergency assistance for the needy

       27.      Despite USCCB’s assurances that it honors donor intent, and that

donations to Peter’s Pence are for the suffering in immediate need, it has recently

become apparent that these donor funds are not being used for the purpose USCCB

promises. On October 17, 2019, the Italian news magazine L’Espresso published a story

sourced from secret internal Vatican investigative reports, as pictured in this

screenshot:12




12 http://espresso.repubblica.it/plus/articoli/2019/10/17/news/vaticano-obolo-san-

pietro-1.340060 (accessed December 23, 2019).

                                             11
       28.    The L’Espresso story revealed that most of the Peter’s Pence funds are

diverted into “reckless speculative operations,” with 77% of the collections—roughly

$560 million—given to Credit Suisse, a Swiss-based investment company.13 The story

also detailed how an Italian financier named Raffaele Mincione was approached by a

high-ranking Vatican official to make a $200 million investment, which Mincione used

to purchase real estate in London for a luxury apartment development through a fund

he managed. Eventually, when returns were less than projected, the Vatican pulled out

of the fund and bought the entirety of the property, resulting in Mincione realizing

almost $170 million in income.14

       29.    On December 4, 2019, the Italian newspaper Corriere della Sera

published additional details on the diversion of Peter’s Pence funds.15 This revealed that

more than $1 million was invested in the Elton John biopic Rocketman, and more than

$3.6 million in the film Men in Black: International.16 Additionally, millions of dollars

were invested in a Malta-based investment company called Centurion Global Fund run

by an Italian financier named Enrico Crasso, who received “millions of euros in

commissions” while losing 4.61% of the fund (approximately two million euros) by the

end of 2018.17




13 https://cruxnow.com/vatican/2019/10/leaked-documents-detail-200-million-

vatican-deal-for-swanky-london-property/ (accessed December 22, 2019).
14 https://cruxnow.com/vatican/2019/10/leaked-documents-detail-200-million-

vatican-deal-for-swanky-london-property/ (accessed December 22, 2019).
15 https://www.corriere.it/english/19_dicembre_04/vatican-invested-lapo-elkann-and-

elton-john-film-72e070b0-16c0-11ea-b17e-02f19725a806.shtml?refresh_ce-cp
(accessed December 22, 2019).
16 http://www.ncregister.com/site/print/62807 (accessed December 22, 2019).
17 http://www.ncregister.com/site/print/62807 (accessed December 22, 2019).



                                            12
       30.    On December 11, 2019, the Wall Street Journal reported that only 10% of

donations to the Peter’s Pence collection actually go to charitable works.18 Most of the

money is used to plug holes in the Vatican’s administrative budget, “[b]ut for at least the

past five years, only about 10% of the money collected—more than €50 million was

raised in 2018—has gone to the sort of charitable causes featured in advertising for the

collection, according to people familiar with the matter.”19

       31.    Asked in November about the reports of Peter’s Pence being used for

purposes other than charity, Pope Francis, according to the Catholic News Service, “said

no one should be bothered by the fact that the Vatican invests the money it collects from

Catholics around the world. ‘The sum of Peter’s Pence arrives and what do I do? Put it in

a drawer? No, that’s bad administration. I try to make an investment.’”20

       32.    But many reactions to news of the actual use of Peter’s Pence were not

accepting. Some commentators asked whether there was “a bait and switch at Peter’s

Pence,” noting “the great disparity between how it is marketed and what the vast

majority of the collection is actually used for.”21




18 https://www.wsj.com/articles/vatican-uses-donations-for-the-poor-to-plug-its-

budget-deficit-11576075764 (accessed December 22, 2019).
19 https://www.wsj.com/articles/vatican-uses-donations-for-the-poor-to-plug-its-

budget-deficit-11576075764 (accessed December 22, 2019).
20 https://www.catholicnews.com/services/englishnews/2019/financial-scandal-shows-

vatican-reforms-are-working-pope-tells-media.cfm (accessed December 22, 2019).
21 https://acton.org/publications/transatlantic/2019/12/13/bait-and-switch-peters-

pence (accessed December 22, 2019); see also
https://www.lifesitenews.com/opinion/catholics-should-be-outraged-at-vaticans-
peters-pence-bait-and-switch (accessed December 23, 2019).

                                              13
      33.    Another commentator, writing in the Catholic Herald, noted this exchange

between Francis X. Rocca, author of the Wall Street Journal article, and one Cardinal of

the Catholic Church, shown in the following screenshot:22




      D.     David O’Connell donated to Peter’s Pence after USCCB told him
             his donation would be applied for emergency assistance

      34.    David O’Connell regularly attends Sunday mass at Sacred Heart Church in

East Providence, Rhode Island. In the summer of 2018, during a Sunday mass in which

he was solicited from the pulpit as directed by USCCB to help those in need of

emergency relief, he made a cash donation to the Peter’s Pence collection. Nothing he

saw or heard, on that day or beforehand, told him or made him understand that his




22 https://catholicherald.co.uk/commentandblogs/2019/12/15/what-the-peters-pence-

furore-tells-us-about-vatican-financial-reform/ (accessed December 23, 2019).

                                           14
donations to Peter’s Pence would be used for anything other than emergency assistance

to the neediest people around the world.

       35.    Even if David O’Connell had slowly and carefully researched external

sources such as the USCCB or Vatican websites, he would still reasonably be unaware

that his donations to Peter’s Pence would not be used entirely and exclusive for

emergency assistance to the poor. He had no reason to suspect that the Peter’s Pence

collection was actually used for investments and other purposes rather than for

emergency assistance, and USCCB’s failure to inform them about this was material; if

USCCB had disclosed this fact, David O’Connell would not have donated to the Peter’s

Pence collection.

       36.    USCCB has always known the difference between a donation for

emergency assistance and a donation to defray Vatican administrative expenses. But

USCCB hid this distinction in its promotion, oversight, and administration of the Peters

Pence collection in the United States, and, as a result, it has effectively profited at the

expense of David O’Connell and the members of the public. David O’Connell donated

money for specific charitable purposes, which USCCB directed into other, non-

charitable purposes. All along, USCCB knew or should have known this was the likely

result, but it promoted the Peter’s Pence collection as a charitable effort meant only for

the poorest of the poor regardless; accordingly, millions of donors across the country

ended up in the exact same position as David O’Connell.



Class allegations

       37.    Plaintiff David O’Connell seeks to represent the following Class:

       All persons in the United States who donated money to the Peter’s Pence


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      collection. Excluded from the Class are USCCB and its subsidiaries and affiliates;
      all persons who make a timely election to be excluded from the Class;
      governmental entities; and the Judge to whom this case is assigned and his/her
      immediate family.


      38.    Plaintiff reserves the right to revise the Class definition based upon

information learned through discovery.

      39.    Certification of Plaintiff’s claims for class-wide treatment is appropriate

because Plaintiff can prove the elements of his claims on a class-wide basis using the

same evidence as would be used to prove those elements in individual actions alleging

the same claim.

      40.    This action has been brought and may be properly maintained on behalf of

the Class proposed herein under Federal Rule of Civil Procedure 23.



      A.     Numerosity

      41.    Pursuant to Federal Rule of Civil Procedure 23(a)(1), the members of the

Class are so numerous and geographically dispersed that individual joinder of all Class

members is impracticable. While Plaintiff is informed and believes that there are

millions of members of the Class, the precise number is unknown to him. Class

members may be notified of the pendency of this action by recognized, Court-approved

notice dissemination methods, which may include U.S. mail, electronic mail, internet

postings, and/or published notice.




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         B.    Commonality and Predominance

         42.   Pursuant to Federal Rules of Civil Procedure 23(a)(2) and 23(b)(3), this

action involves common questions of law and fact, which predominate over any

questions affecting individual Class members, including, without limitation:

         a) Whether USCCB engaged in the conduct alleged herein;

         b) Whether USCCB’s conduct violates common law as asserted herein;

         c) Whether Plaintiff and the other Class members are entitled to equitable relief,

including, but not limited to, restitution or injunctive relief; and

         d) Whether Plaintiff and the other Class members are entitled to damages and

other monetary relief and, if so, in what amount.



         C.    Typicality

         43.   Pursuant to Federal Rule of Civil Procedure 23(a)(3), Plaintiff’s claims are

typical of the other Class members’ claims because, among other things, all Class

members were comparably injured through USCCB’s wrongful conduct as described

above.



         D.    Adequacy

         44.   Pursuant to Federal Rule of Civil Procedure 23(a)(4), Plaintiff is an

adequate Class representative because his interests do not conflict with the interests of

the other members of the Class he seeks to represent; Plaintiff has retained counsel

competent and experienced in complex class action litigation; and Plaintiff intends to

prosecute this action vigorously. The interests of the Class will be fairly and adequately

protected by Plaintiff and his counsel.


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       E.     Declaratory and Injunctive Relief

       45.    Pursuant to Federal Rule of Civil Procedure 23(b)(2), Defendants have

acted or refused to act on grounds generally applicable to Plaintiff and the other

members of the Class, thereby making appropriate final injunctive relief and declaratory

relief, as described below, with respect to the Class as a whole.



       F.     Superiority

       46.    Pursuant to Federal Rule of Civil Procedure 23(b)(3), a class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the management

of this class action. The damages or other financial detriment suffered by Plaintiff and

the other Class members are relatively small compared to the burden and expense that

would be required to individually litigate their claims against USCCB, so it would be

impracticable for Class members to individually seek redress for USCCB’s wrongful

conduct. Even if Class members could afford individual litigation, the court system

could not. Individualized litigation creates a potential for inconsistent or contradictory

judgments and increases the delay and expense to all parties and the court system. By

contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.




                                             18
Claims for relief

       Count I.       Fraud

       47.    Plaintiff realleges and incorporates by reference all paragraphs as though

fully set forth herein.

              A.      USCCB made affirmative misrepresentations

       48.    USCCB consistently, routinely, and uniformly solicited donations for the

Peter’s Pence collection as emergency assistance needed for victims of war, oppression,

natural disaster, or disease throughout the world. By doing this, USCCB communicated

to Plaintiff and to each Class member that any money they donated to Peter’s Pence

would be used exclusively for these purposes.

       49.    This was a material representation, as USCCB knew that prospective

donors would be inclined to donate to Peter’s Pence if they believed their donations

were urgently needed by people in dire circumstances. And this was a false

representation, because the donations were never going to be routed immediately to the

needy, but rather were going to be diverted into investment funds and subsequently into

purposes such as real estate, Hollywood films, and hefty commissions for fund

managers.

       50.    USCCB knew or should have known the representations were false and

intended Plaintiff and Class members to rely on them. Plaintiff and Class members

decided to donate to Peter’s Pence based in part on the representations communicated

to them by USCCB.

       51.    But for USCCB’s fraud, Plaintiff and the members of the Class would not

have donated to the Peter’s Pence collection. Plaintiff and the members of the Class have

sustained damage because they contributed money for specific charitable purposes


                                           19
which USCCB did not spend in accordance with its promises. Accordingly, USCCB is

liable to Plaintiff and the members of the Class for damages in an amount to be proven

at trial.


              B.    USCCB fraudulently concealed material facts

        52.   USCCB consistently, routinely, and uniformly solicited donations for the

Peter’s Pence collection as emergency assistance needed for victims of war, oppression,

natural disaster, or disease throughout the world. By doing this, USCCB communicated

to Plaintiff and to each Class member that any money they donated to Peter’s Pence

would be used exclusively for these purposes.

        53.   USCCB concealed and suppressed the fact that the donations were never

going to be routed immediately to the needy, but rather were going to be diverted into

investment funds and subsequently into purposes such as real estate, Hollywood films,

and hefty commissions for fund managers. This was a material fact about which USCCB

had or should have had knowledge, and that it concealed from Plaintiff and the

members of the Class to mislead them.

        54.   Plaintiff and the members of the Class did not know this fact and could not

have discovered it through a reasonably diligent investigation.

        55.   USCCB had a duty to disclose that donations to Peter’s Pence would not be

immediately spent on emergency assistance for the needy around the world because (1)

USCCB had or should have had exclusive knowledge of the material, suppressed facts;

(2) USCCB took affirmative actions to conceal the material facts, including by devising

and implementing a promotional program for Peter’s Pence that emphasized the need

for emergency assistance for the poor; (3) USCCB made partial representations by



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suggesting in promotional and solicitation materials that donations to the Peter’s Pence

collection are exclusively to aid the needy in dire circumstances around the world.

Plaintiff and Class members decided to donate to Peter’s Pence based in part on the

representations communicated to them by USCCB’s promotions and solicitations.

       56.    But for USCCB’s fraud, Plaintiff and the members of the Class would not

have made donations to the Peter’s Pence collection. Plaintiff and the members of the

Class have sustained damage because they contributed money for specific charitable

purposes which USCCB did not spend in accordance with its promises. Accordingly,

USCCB is liable to Plaintiff and the members of the Class for damages in an amount to

be proven at trial.



       Count II.      Unjust enrichment

       57.    Plaintiff realleges and incorporates by reference all paragraphs as though

fully set forth herein.

       58.    As described in detail in the factual allegations above, USCCB made false

representations to Plaintiff and the members of the Class that resulted in their

contributions of money for charitable purposes to their detriment.

       59.    Under these circumstances as described above, USCCB has received

money from Plaintiff and the members of the Class that USCCB, in equity and good

conscience, ought not to retain.

       60.    As a result, USCCB is liable in restitution to Plaintiff and the members of

the Class to disgorge and remit to Plaintiff and the Class all monies contributed, in an

amount to be proved at trial.




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       Count III. Breach of fiduciary duty

       61.    Plaintiff realleges and incorporates by reference all paragraphs as though

fully set forth herein.

       62.    As described in detail in the factual allegations above, USCCB promoted,

advertised, provided instructions for, administered, oversaw, and collected funds from

donors throughout Rhode Island and the United States in connection with the Peter’s

Pence collection. USCCB owed Plaintiff and the members of the Class fiduciary duties in

connection with its promotion, solicitation, and handling of all charitable contributions

to the Peter’s Pence collection.

       63.    Under the circumstances described in detail above, USCCB breached its

fiduciary duties to Plaintiff and the members of the Class by failing to ensure that the

charitable contributions to the Peter’s Pence collection were spent in accordance with

USCCB’s promises.

       64.    As a result of USCCB’s breaches of its fiduciary duties, Plaintiff and the

members of the Class have sustained damages, and USCCB is liable to Plaintiff and the

members of the Class for damages in an amount to be proved at trial.



Request for relief

       65.    David O’Connell, individually and on behalf of the members of the Class,

respectfully request that the Court enter judgment in their favor and against USCCB, as

follows:

       A.     Certification of the proposed Class, including appointment of Plaintiff’s

              counsel as Class Counsel;




                                            22
     B.    An order temporarily and permanently enjoining Defendants from

           continuing the unlawful, deceptive, and fraudulent practices alleged in this

           Complaint;

     C.    Injunctive relief;

     D.    Costs, restitution, damages, and disgorgement in an amount to be

           determined at trial;

     E.    An order requiring USCCB to pay both pre- and post-judgment interest on

           any amounts awarded;

     F.    An award of costs and attorneys’ fees; and

     G.    Such other or further relief as may be appropriate.



Demand for jury trial

     66.   Plaintiff hereby demands a jury trial for all claims so triable.




                                          23
Dated: January 22, 2020   Respectfully submitted,

                          /s/ Peter N. Wasylyk
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                          Counsel for Plaintiff and the Class




                            24
